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EXHIBIT INDEX T() PLAINTIFF’S BRIEF IN OPPOSITION TO
I)EFENI)ANTS PAUL FISCHER AND THE .IUDICIAL TENURE
COMMISSION’S MOTION INLIMINE TO EXCLUI)E NEWSPAPER
ARTICLES AN]) EDITORlALS

 

Exhibit Description
1 October 8, 2010 Associated Press article: “]udge J ames Kandrevas
pleads the Fifth more than 200 times in Southgate lawsuit”

 

 

2 October 12, 2010 The NeWs Herald article: “Southgate: City settles
second lawsuit against judge”

 

3 Oetober 13, 2010 Associated Press article: “Former Wayne County
]udge Mary Waterstone to stand trial for allowing perjury”

 

4 Transcript from the (Vol. 1) Angust 11, 2017 and (Vol. 2) January 5,
2018 Depositions of Deborah Green

 

5 Transcript Selections From the July 28, 2017 Deposition of Paul Fisoher

 

6 March 4, 2012 Record Eagle article: “Our VieW: Judge’S decisions
Should cost him his post”

 

7 Mareh 31, 2016 rnLive article: “.ludge avoids jail after embezzlement
case ends in misdemeanor plea”

 

8 Transcript Seleetions From the December 21, 2017 Deposition of
Margaret Rynier as representative of the JTC

 

9 Park W. Galleries, Inc. v. Global Fine Am‘ Regislry, LLC, 2010 U.S. Dist.
LEXIS 22872 (E.D. Mich. 2010)

 

10 Evans V. Lucas Metro. Hous. Auth., 2016 U.S. Dist. LEXIS 177354 2016
WL 7407539 (N.D. Oh. 2016)

 

11 Bahena v. Cily Of Chicago, 2018 U.S. Dist. LEX[S 97852 (N.D. lll.
2018)

 

 

 

 

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